Case 12-62964-mhm        Doc 50   Filed 03/27/13 Entered 03/27/13 15:52:00         Desc Main
                                  Document     Page 1 of 4



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISON

                                              )
   IN RE:                                     )      CASE NO: 12-62964-MHM
                                              )
   JOHN MCPETERS                              )
                                              )      CHAPTER 13
                  DEBTOR,                     )


               DEBTOR’S MOTION TO CONVERT CASE TO CHAPTER 7


          The Debtor, pursuant to 11 U.S.C. § 1307(a), hereby elects to convert the above-
   captioned Chapter 13 case to a case under Chapter 7 of the United States Bankruptcy
   Code. The Debtor is entitled to convert his case because:

          1. This case was filed on May 23, 2012 and has not been previously converted
   under 11 U.S.C. § 706 or 11 U.S.C. § 1112.

         2. The Debtor is eligible to be debtor under Chapter 7 of the United States
   Bankruptcy Code.

            WHEREFORE, the Debtor prays for relief under Chapter 7 of the Bankruptcy
   Code.

                                   END OF DOCUMENT


   PREPARED AND PRESENTED BY:

   _______/s/_________
   Will B. Geer
   Law Office of Will B. Geer, LLC
   1069 Spring St., NW
   Suite 200
   Atlanta, Georgia 30309
   T: (678) 587-8740
   F: (404) 287-2767
   willgeer@atlbankruptcyhelp.com
     Case 12-62964-mhm              Doc 50   Filed 03/27/13 Entered 03/27/13 15:52:00                    Desc Main
                                             Document     Page 2 of 4


1     Law Office of Will B. Geer, LLC                                                                          Judge:
      Will B. Geer                                                                                   Hearing Location:
2     1069 Spring St., NW, Suite 200                                                                    Hearing Date:
      Atlanta, GA 30309                                                                                Hearing Time:
      678 587-8740                                                                                    Response Date:
3
      DATE RECEIVED: Mar 27, 2013            TIME RECEIVED: 05:29AM               TOTAL SERVED: 18
4
                                    UNITED STATES BANKRUPTCY COURT
5
                                     NORTHERN DISTRICT OF GEORGIA
6
      IN RE:      John McPeters                              CASE NO: 12-62964
7
                                                             CERTIFICATE OF SERVICE
8                                                            Chapter:
                                                             ECF Docket Reference No:
9
     On Wednesday, March 27, 2013, a copy of the following documents, described below,
10
     Debtor's Motion to Convert to Chapter 7
11   were deposited for delivery by the United States Postal Service, via first class United States Mail, postage
     prepaid, first class, with sufficient postage thereon to the parties listed on the mailing list attached hereto
12   and incorporated as though fully set forth herein.
     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have
13
     served the above referenced document(s) on the above listed entities in the manner shown, and
     prepared the Certificate of Service and that it is true and correct to the best of my knowledge, information,
14
     and belief.
15
      DATED: March 27, 2013                                  /s/ Cody Rush
16                                                           Cody Rush
                                                             BK Attorney Services, LLC
17                                                           d/b/a certificateofservice.com, for
                                                             Will B. Geer
18                                                           1069 Spring St., NW, Suite 200
                                                             Atlanta, GA 30309
19                                                           678 587-8740

20   Note: The addresses on the attached mailing list were processed through the USPS Zip+4 validation
     database as well as the USPS National Change of Address Database (NCOA-link) in accordance with
21   the USPS Domestic Mail Manual Rules. The delivery point zip code and carrier routing were imprinted on
     the mailpiece with an Intelligent Mail Barcode for faster and more reliable delivery.
22

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     Certificate of Service
               Case
Label Matrix for  local 12-62964-mhm
                        noticing               Doc 50
                                                   Azurea Filed
                                                          I, LLC 03/27/13 Entered 03/27/13 15:52:00       Desc Main
                                                                                           Capital One, N.A.
113E-1                                                  Document           Page
                                                   c/o Weinstein & Riley, P.S.  3 of 4     Bass & Associates, P.C.
Case 12-62964-mhm                                     2001 Western Ave., Ste. 400                          3936 E. Ft. Lowell Rd, Suite 200
Northern District of Georgia                          Seattle, WA 98121-3132                               Tucson, AZ 85712-1083
Atlanta
Wed Mar 27 09:03:28 EDT 2013
LGE Community Credit Union                            American Express                                     American Express Centurion Bank
William A. Rountree, Esq.                             P.O. Box 981537                                      c o Becket and Lee LLP
Macey, Wilensky, Kessler & Hennings, LLC              El Paso, TX 79998-1537                               POB 3001
230 Peachtree Street NW                                                                                    Malvern, PA 19355-0701
Suite 2700
Atlanta, GA 30303-1561
Capital One, N.A.                                     Department Stores National Bank/Macys                (p)U S DEPARTMENT OF EDUCATION
Bass & Associates, P.C.                               Bankruptcy Processing                                P O BOX 5609
3936 E. Ft. Lowell Road, Suite #200                   Po Box 8053                                          GREENVILLE TX 75403-5609
Tucson, AZ 85712-1083                                 Mason, OH 45040-8053


FIA CARD SERVICES, N.A.                               FIA CSNA                                             HSBC Best Buy
PO Box 15102                                          PO Box 15026                                         1405 FOULK ROAD
Wilmington, DE 19886-5102                             Wilmington, DE 19850-5026                            Wilmington, DE 19803-2769



LGE Credit Union                                      Macy’s                                               Mark Moran
P.O. Box 1188                                         PO Box 8218                                          3759 Trebourne Square
Marietta, GA 30061-1188                               Mason, OH 45040-8218                                 Smyrna, GA 30080-4903



Wells Fargo Bank                                      Wells Fargo Bank NA                                  Adam M. Goodman
P.O. Box 3117                                         PO Box 10438                                         Adam M. Goodman, 13 Trustee
Winston Salem, NC 27102-3117                          MAC X2505-036                                        Suite 200
                                                      Des Moines, IA 50306-0438                            260 Peachtree Street
                                                                                                           Atlanta, GA 30303-1236

John McPeters                                         Will B. Geer
6 Chantilly Court                                     Law Office of Will Geer
Savannah, GA 31419-2001                               1069 Spring St., NW.
                                                      Suite 200
                                                      Atlanta, GA 30309-3817



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Direct Loan
P.O. Box 7202
Utica, NY 13504




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
               Case 12-62964-mhm
(d)Azurea I, LLC                   Doc 50
                                       End of Filed  03/27/13 Entered 03/27/13 15:52:00
                                              Label Matrix                                Desc Main
c/o Weinstein & Riley, P.S.            Mailable recipients 19Page 4 of 4
                                            Document
2001 Western Ave., Ste. 400            Bypassed recipients    1
Seattle, WA 98121-3132                 Total                 20
